                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 BLAKE BEELER, et al.,                                )
                                                      )
        Plaintiffs,                                   )
                                                      )
 v.                                                   )       No. 3:21-cv-152
                                                      )       Judge Katherine A. Crytzer
 JONATHAN SKRMETTI, et al.,                           )       Magistrate Judge Debra C. Poplin
                                                      )
        Defendants.                                   )


  JOINT MOTION TO STAY CASE FOR 60 DAYS PENDING SUBMISSION OF AGREED
                         ORDER OF JUDGMENT


        Pursuant to Federal Rule of Civil Procedure 6 and this Court’s Order extending the deadline

 for Defendants1 to respond to Plaintiffs’ First Amended Complaint (D.E. 35), the Parties

 respectfully request that this Court enter an order staying all proceedings for a period of 60 days,

 up and until January 13, 2022, to allow the parties to negotiate and finalize the submission of an

 agreed order of judgment resolving all issues before the Court.

        On October 28, 2022, the Court ordered that Defendants shall have until November 14,

 2022, to respond to Plaintiffs’ First Amended Complaint and that no further extensions would be

 granted absent extraordinary circumstances. (D.E. 35.) The Parties respectfully submit that

 extraordinary circumstances exist to justify a temporary stay of proceedings.

        Specifically, since filing of the First Amended Complaint, and since the Court entered its

 previous order, the Parties have conferred and have agreed on a path to resolution of the case that

 involves the submission of an agreed order of judgment that would resolve the case in its entirety.



 1
  Jonathan Skrmetti, Attorney General & Reporter for the State of Tennessee, has been dismissed
 as a Defendant. (D.E. 36.)


Case 3:21-cv-00152-KAC-DCP Document 37 Filed 11/14/22 Page 1 of 3 PageID #: 255
 The Parties anticipate finalizing their agreement in the coming weeks and require additional time

 to negotiate and draft terms for this Court’s approval.



                                                       Respectfully Submitted,


                                                       /s/ Raymond M. DiGuiseppe
                                                       Raymond M. DiGuiseppe
                                                       The DiGuiseppe Law Firm, P.C.
                                                       4320 Southport-Supply Road
                                                       Suite 300
                                                       Southport, NC 28461
                                                       Phone: 910-713-8804
                                                       Fax: 910-672-7705
                                                       Email: law.rmd@gmail.com
                                                       Counsel for Plaintiffs

                                                       JONATHAN SKRMETTI
                                                       Attorney General and Reporter

                                                       s/ Dean S. Atyia
                                                       Dean S. Atyia (B.P.R. No. 039683)
                                                       Team Leader
                                                       Assistant Attorney General
                                                       Dean.Atyia@ag.tn.gov
                                                       Assistant Attorney General
                                                       Miranda.Jones@ag.tn.gov
                                                       Law Enforcement and
                                                       Special Prosecutions Division
                                                       Office of the Tennessee Attorney General
                                                       P.O. Box 20207
                                                       Nashville, Tennessee 37202-0207
                                                       Phone: (615) 532-0417
                                                       Fax: (615) 532-4892
                                                       Counsel for Defendants




                                     2
Case 3:21-cv-00152-KAC-DCP Document 37 Filed 11/14/22 Page 2 of 3 PageID #: 256
                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was filed electronically and
 served through the electronic filing system on this 14th day of November 2022, upon the following:

 Raymond M. DiGuiseppe
 The DiGuiseppe Law Firm, P.C.
 4320 Southport-Supply Road
 Suite 300
 Southport, NC 28461
 Phone: 910-713-8804
 Fax: 910-672-7705
 Email: law.rmd@gmail.com


                                                      /s/ Dean S. Atyia
                                                      Dean S. Atyia




                                     3
Case 3:21-cv-00152-KAC-DCP Document 37 Filed 11/14/22 Page 3 of 3 PageID #: 257
